     Case 1:20-cv-03127-SAB   ECF No. 103       filed 10/30/20   PageID.2934 Page 1 of 3



 1                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
 2
 3                                                                Oct 30, 2020
                                                                      SEAN F. MCAVOY, CLERK

 4
 5                       UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 STATE OF WASHINGTON, STATE OF                    No. 1:20-CV-03127-SAB
 9 COLORADO, STATE OF
10 CONNECTICUT, STATE OF ILLINOIS
11 STATE OF MARYLAND, STATE OF
12 MICHIGAN, STATE OF MINNESOTA,
13 STATE OF NEVADA, STATE OF NEW
14 MEXICO, STATE OF OREGON, STATE                   ORDER REGARDING
15 OF RHODE ISLAND, STATE OF                        ELECTION MAIL
16 VERMONT, COMMONWEALTH OF
17 VIRGINIA, and STATE OF
18 WISCONSIN,
19        Plaintiffs,
20        v.
21 DONALD J. TRUMP, in his official
22 capacity as President of the United States
23 of America; UNITED STATES OF
24 AMERICA; LOUIS DEJOY, in his official
25 capacity as Postmaster General; UNITED
26 STATES POSTAL SERVICE,
27        Defendants.
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      ORDER REGARDING ELECTION MAIL * 1
     Case 1:20-cv-03127-SAB     ECF No. 103    filed 10/30/20   PageID.2935 Page 2 of 3



 1        Whereas, postal facilities already conduct daily “all clears” to identify all
 2 Election Mail in the facility and ensure that it is processed in a timely way,
 3        Whereas, USPS collects reports from facilities regarding daily “all clear”
 4 activity,
 5        It is ORDERED that:
 6        1.     Starting November 1, 2020 and continuing through November 10,
 7 2020, each day by 10:00 AM Pacific Time, USPS shall report to the Court the prior
 8 day’s “all clear” status for each facility and processing center in the Detroit and
 9 Lakeland Districts;
10        2.     By 1:00 PM Pacific Time each day, USPS shall provide an
11 explanation for any facility that fails to report or that reports non-compliance;
12        3.     If USPS identifies any incoming ballots in its “all clear” processes in
13 these facilities from the date of this order through Election Day, it shall make every
14 effort to deliver those ballots by 8:00 PM local time on Election Day as required by
15 Michigan and Wisconsin law, including by using Priority Mail Express and/or
16 other extraordinary measures;
17        4.     If USPS identifies any outgoing ballots in its “all clear” processes in
18 these facilities between the date of this order and November 1, 2020, it shall make
19 every effort to deliver those ballots to voters on or before November 2, 2020,
20 including by using Priority Mail Express or other extraordinary measures.
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        ORDER REGARDING ELECTION MAIL * 2
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 1        5.    Counsel for Plaintiffs shall have reasonable access to USPS facilities
 2 to monitor compliance with the Court’s orders. The parties’ counsel shall attempt
 3 to reach agreement on any inspection requests. If they cannot reach agreement, the
 4 parties may bring requests to the Court.
 5        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
 6 and forward copies to counsel.
 7        DATED this 30th day of October 2020.
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                                      Stanley A. Bastian
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                              Chief United States District Judge
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      ORDER REGARDING ELECTION MAIL * 3
